
PER CURIAM..
| ¶ Denied. On the showing made, relator is not entitled to an out-of-time appeal. See State v. Counterman, 475 So.2d 336 (La.1985). Relator fails to show he was denied the effective assistance -of counsel during plea negotiations under- the standard of Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).
Relator has now fully litigated' his application for post-conviction relief in state court. Similar to federal habeas-relief, see 28 U.S.C.--§ 2244, Louisiana post-conviction procedure envisions the filing of a second or successive application only under the narrow circumstances provided- in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La.C.Cr.P. art. 930.8. Notably,, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive fil*1106ings mandatory. Relator’s claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
